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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

TRITA PARSI
and
NATIONAL IRANIAN AMERICAN COUNCIL
Plaintiffs,
Vv.
SEID HASSAN DAIOLESLAM,

Defendant.

 

 

Civ. No.: 08 CV 00705 (JDB)

MOTION FOR AN EMERGENCY PROTECTIVE ORDER SEEKING TO PROHIBIT THE
DEFENDANT FROM DISCLOSING ANY AND ALL INFORMATION GAINED THROUGH
DISCOVERY FROM PLAINTIFFS WITH PARTIES OUTSIDE OF LITIGATION

NOW COMES, the Plaintiffs, The National Iranian American Counsel (hereinafter,

“NIAC”), and its President, Dr. Trita Parsi, and files the Honorable Court this dispositive Motion

for an Emergency Protective Order moves this Honorable Court which, inter alia, prohibits the

Defendant from (i) litigating this case in the press, (ii) tainting the jury pool, and (iii) prohibiting

the Defendant Diaoleslam, and his counsel, Sidley Austin LLP, from disclosing to third parties

any discovery material that Plaintiffs’ have given or wiil give to Defendant.

Email sent to Plaintiff Trita Parsi from Defendant’s counsel Timothy Kapshandy

On. October 29, 2009, Timothy Kapshandy, counsel for Defendant, sent an

unencrypted e-mail to Plaintiff Trita Parsi that clearly shows Defendant’s intent to disseminate
 

 

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discovery material (that was provided to him by Plaintiffs in good-faith) with outside persons in
the press. See Exhibit A.' In particular, a reporter from the Washington Times, Eli Lake is
shown in the email to be the intended recipient of the discovery material that was given to the
Defendant. As a result, Mr. Lake, on the Defendant’s behalf, is currently in the process of
writing a defamatory article about Plaintiffs through the use of the improperly leaked Discovery
material. Mr. Lake explicitly made this admission-to Plaintiff Trita Parsi in a meeting about the
subject matter on October 29, 2009. See Affidavit of Trita Parsi’s.

Plaintiffs had initially brought this suit against Defendant in order to stop a series of
false and defamatory remarks/publications made by him in which he alleges that NIAC and Dr.
Trita Parsi are lobbying for the Islamic Republic of Iran in the U.S. Once initial pleadings were
concluded and discovery commenced, Plaintiffs, in good faith, complied with Defendant’s

‘discovery requests by producing numerous e-mails and materials from Dr. Trita Parsi and
NIAC. This was done so that Defendant would have a fair chance and opportunity to defend
himself. Yet Plaintiffs also realized that the material, if shared with outside parties unrelated to
the litigation, could be misconstrued and used against them maliciously in the court of public
opinion before trial. As a result, Plaintiffs had requested a Protective Order seeking to protect
the identity of a “Dr. B”, in their Motion dated October 9, 2009. Defendants opposed this
Motion, claiming that there is no need for a Protective Order and that they will readily agree not
to disclose Dr. B’s true/full name. Following the Court’s Order and recommendation, Plaintiffs,
in good faith, agreed to a joint status report evidencing such, which was filed on October 28,
2009. See Exhibit B.

Yet it has become clear that Defendant’s contention that Protective Orders are not

necessary in stopping the disclosure of discovery material to outside parties is completely false.

 

' The relevant portion of this e-mail is included as “Exhibit A,” which includes the first and last two pages.
 

 

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Again, the Defendant’s allege that an agreement without teeth is sufficient, yet the email by Mr.
Kapshandy clearly shows that all of this was a subterfuge, and that the Defendant and his
counsel have all along intended to disseminate discovery material and litigate this case in the
press with impunity. Moreover, this is why the Plaintiffs will be filing concurrently with this
motion, another motion for a Protective Order seeking to withhold from the Defendant NIAC’s

regular donor list.

Good Cause Exists for a Protective Order

Moreover, we strongly believe that the “good cause” requirement for a protective
order under Rule 26(c) has clearly been satisfied here. To establish “good cause” for a protective
order under Rule 26(c), “‘[t]he courts have insisted on a particular and specific demonstration of
fact, as distinguished from stereotyped and conclusory statements.’” In re Halkin, 598 F.2d 176,
193 (D.C. Cir. 1979) (quoting 8 Wright & Miller, Federal Practice and Procedure § 2075 at 265
(1970); see also Pansy, 23 F.3d at 786 (“Good cause is established on a showing that disclosure
will work a clearly defined and serious injury to the party seeking closure. The injury must be
shown with specificity. ‘Broad allegations of harm, unsubstantiated by specific examples or
articulated reasoning,’ do not support a good cause showing.”) (quoting Cipollone v. Liggett
Group, Inc., 785 F.2d 1108, 1121 Gd Cir. 1986), cert. denied, 484 U.S. 976 (1987) (citations
omitted)). Courts balance the “‘harm to the party secking protection . . . and the importance of
disclosure to the public.” However, privacy interests are diminished when the party seeking
protection is a public person subject to legitimate public scrutiny.” Pansy, 23 F.3d at 787
(quoting Arthur R. Miller, Confidentiality, Protective Orders, and Public Access to the Courts,

105 Harv.L.Rev. 427, 432-33 (1991)).
 

 

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Clearly, as is evident from Mr. Kapshandy’s e-mail, Defendant, through his counsel, is
misconstruing e-mails sent by Trita Parsi and placing them in a false light in an attempt to show
that Plaintiffs are “lobbying for the Islamic Republic of Iran in Washington.” As such, the facts
are clearly m-line with the Cippone decision, where the court required that “broad allegations
unsubstantiated by examples are not enough” for a showing of good cause. Exhibit A clearly
shows what has and will continue to happen if there is not a Protective Order in place to prevent
the Defendant from disclosing information to outside parties and disseminating discovery and
evidence extra-judicially. Furthermore, the e-mails in Exhibits C and D show the Defendant’s
- malicious intent to “destroy” Trita Parsi. See Exhibit C and D. Now we see this intent is being
followed through with by. counsel for Defendant in using discovery, not as a tool for defenses in
this litigation, but to destroy Trita Parsi and NIAC in the press, to further the malicious intent of
his client. These are clearly specific examples that are required in Cippone and the “particular
and specific demonstration of fact” as specified for under the Jn re Halkin decision.

- Moreover, Defendant’s actions clearly run counter to the spirit of a confidentiality
agreement that they signed which prohibits the disclosure of information to outside parties. See
Exhibit B. It has become obvious that the Defendant’s cannot be trusted and are acting in bad-
faith to further ruin and defame the good name of the Plaintiffs.

Additionally, Plaintiff Trita Parsi has attached an affidavit attesting to his meeting
with the Washington Times reporter Eli Lake, on the 29" of October 2009. At the meeting Mr.
Lake admitted to Dr. Parsi that he (Eli Lake) was using discovery material in his effort to publish
the articie. This corroborates the mal-intent evidenced so clearly in Mr. Kapshandy’s e-mail to
share sensitive discovery material with the press in an effort to further taint the jury pool and

defame the plaintiffs.
 

 

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Defendant’s Disclosure of the E-mail to the Plaintiff Waives Any Possible Claims of
Privilege as to the E-mail and its Subject Matter.

In Elkins v. District of Columbia, 250 F.R.D. 20 (D.D.C., 2008), the court stated both
voluntary and inadvertent disclosure of privileged materials waives the privilege. Elkins, 250
P.R.D. 20, 24 (citing In re Sealed Case, 877 F.2d 976, 980 (D.C.Cir.1989); Elliott v. Federal
Bur. of Prisons, 521 F.Supp.2d 41, 57-58 (D.D.C.2007)). | Additionally, “{oJnce a
communication is disclosed, the attorney-client privilege is waived for all documents and
communications relating to the subject matter of the disclosure.” Elkins at 24 (citing Ideal Elec.
Sec. Co., Inc. v. Int'l Fidelity Ins. Co., 129 F.3d 143, 152 (D.C.Cir.1997); In re United Mine
Workers of Am. Employee Benefit Plans Litig., 159 F.R.D. 307, 309 (D.D.C.1994). Accordingly,
the Defendant cannot claim the e-mail communication is privileged. The e-mail communication
clearly shows the Defendant’s intent to disclose discovery material to third parties and therefore

is direct evidence in support of the Emergency Motion for Protective Order.

Defendant’s Conduct is in Violation of the D.C. Rules of Professional Conduct
As noted, Defendant’s conduct is nothing short of an attempt to discredit the Plaintiffs
in the eyes of the public before trial. Defendant’s counsel’s conduct is in violation of rule 3.6 of
D.C’s Rules of Professional Conduct which states that “[a] lawyer engaged in a case being tried
to a judge or jury shall not make an extrajudicial statement that the lawyer knows or reasonably
should know will be disseminated by means of mass public communication and will create a
serious and imminent threat of material prejudice to the proceeding.” See also Gentile v. State

Bar of Nevada, 501 U.S. 1030, 111 S.Ct. 2720 (1991) (the Supreme Court, considering extra-
 

 

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judicial pretrial statements, held that the standard is ‘substantially likely to prejudice’ is
applicable). Indeed, the comments to rule 3.6 provide further clarification when they state that
“publicity should not be allowed to influence the fair administration of justice.” Jd. Accordingly,
Defendant, through his counsel! is actively disseminating discovery to the press in a blatant effort
to spread extrajudicial communications regarding this case. This.is an effort to taint the jury pool
and to litigate this case in the press. In fact, in Mr. Kapshady’s e-mail, he even directs the
reporter as to how to spin and legally analyze the discovery evidence being disseminated.

Mr. Kapshady also violated rule 4.2 of the D.C. rules of: Professional Conduct by
contacting our client directly. Rule 4.2. states that “[d]uring the course of representing a client, a
lawyer shall not communicate or cause another to communicate about the subject of the
representation with a person known to be represented by another lawyer in the matter, unless the
lawyer has the prior consent of the lawyer representing such other person or is authorized by law
or a court order to do so”. Jd. Mr. Kapshandy did not have prior consent from Plaintiffs’
attorney’s to contact Plaintiffs nor was there a court order in place allowing him to do so in the

emails he sent Trita Parsi.

WHEREFORE, the Plaintiff requests that:
l. The Defendant be prohibited from sharing any and all discovery material gained
through the instant litigation with third parties outside of litigation;
2. The Defendant be sanctioned for sharing discovery material with third parties
outside of litigation, including but not limited to:
a. Any appropriate sanctions;

b. Entry of Default on the issue of liability;
 

 

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c. The Defendant be prohibited from offering any testimony or exhibits at

trial on the issue of liability and any defenses thereto;

3.

Any and ail other relief this Court deems appropriate.

‘Respectfully Submitted

PISHEVAR & ASSOCIATES, P.C.

Is/
A.P. Pishevar (D.C. Bar No. 451015)

 

/s/
Patrick Parsa (D.C. Bar No. 988054)

 

~“PISHEVAR & ASSOCIATES, P.C.

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Attorneys for the Plaintiffs
 

 

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CERTIFICATE OF SERVICE

T HEREBY CERTIFY that on this 30th day of October, 2009, a copy of the foregoing
was mailed to:

Sidley Austin LLP

HL Rogers

1501 K Street N.W.
Washington, D.C. 20005

/s/
AP, Pishevar (#451015)

 
 

 

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CERTIFICATE OF CONFERRAL PURSUANT TO LOCAL RULE 7(M)

I certify that on October 30, 2009, I conferred by telephone with Defendant’s counsel.
Parties conferred in good faith; this motion is opposed.

By:

Respectfully Submitted

PISHEVAR & ASSOCIATES, P.C.

/s/
A.P. Pishevar (D.C. Bar No. 451015)

is/
Patrick Parsa (D.C. Bar No. 988054)
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